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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                 )
NATIONAL TREASURY EMPLOYEES                      )
UNION,                                           )
                                                 )     Case No. 1:25-cv-935-PLF
       Plaintiff;                                )
                                                 )
v.                                               )     Judge Paul L. Friedman
                                                 )
DONALD J. TRUMP, et al.,                         )
                                                 )
       Defendants.                               )
                                                 )


                                    [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Motion for Preliminary Injunction, Defendants’

Opposition to Plaintiff’s Motion for Preliminary Injunction, and the complete record, it is hereby

ORDERED that the Motion is DENIED.

       SO ORDERED.




Date: _______________________                        ______________________________
                                                     HON. PAUL L. FRIEDMAN
                                                     United States District Judge
